                  Case 3:20-cr-00249-RS
DOCUMENTS UNDER SEAL
                                                   Document 64          Filed 08/17/21 Page 1
                                                                           TOTAL TIME (m ins):
                                                                                                 of 1
                                                                                               30 M
M AGISTRATE JUDGE                        DEPUTY CLERK                             REPORTER/DIGITAL RECORDING:
M INUTE ORDER                           Karen L. Hom                              Zoom Webinar: 10:38-10:42
MAGISTRATE JUDGE                         DATE                                     NEW CASE          CASE NUMBER
JOSEPH C. SPERO                          August 17, 2021                                          20-cr-0249-RS-1
                                                     APPEARANCES
DEFENDANT                                AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                      PD.          RET.
Rowland Marcus Andrade                             N        P       Warrington Parker, Kayvan Ghaffari      APPT.
U.S. ATTORNEY                            INTERPRETER                             FIN. AFFT               COUNSEL APPT'D
Christiaan Highsmith                                                             SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER               DEF ELIGIBLE FOR             PARTIAL PAYMENT
                            Pepper Friesen                          APPT'D COUNSEL               OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                              STATUS - 4 M
                                                                                                                TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT             BOND HEARING            IA REV PROB. or               OTHER sealed status
                                                                                  or S/R                      26 M
       DETENTION HRG              ID / REMOV HRG          CHANGE PLEA            PROB. REVOC.                   ATTY APPT
                                                                                                                HEARING
                                                    INITIAL APPEARANCE
        ADVISED                ADVISED                  NAME AS CHARGED             TRUE NAME:
        OF RIGHTS              OF CHARGES               IS TRUE NAME
                                                       ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON             READING W AIVED             W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT               SUBSTANCE
                                                        RELEASE
      RELEASED           ISSUED                     AMT OF SECURITY         SPECIAL NOTES                PASSPORT
      ON O/R             APPEARANCE BOND            $                                                    SURRENDERED
                                                                                                         DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                     REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL                DETAINED         RELEASED       DETENTION HEARING                  REMANDED
      FOR              SERVICES                                                AND FORMAL FINDINGS                TO CUSTODY
      DETENTION        REPORT                                                  W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
   CONSENT                    NOT GUILTY                   GUILTY                  GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                CHANGE OF PLEA               PLEA AGREEMENT          OTHER:
   REPORT ORDERED                                          FILED
                                  ID Counsel           CONTINUANCE
TO:                               ATTY APPT               BOND                   STATUS RE:
08/20/2021                        HEARING                 HEARING                CONSENT                    TRIAL SET

AT:                               SUBMIT FINAN.            PRELIMINARY           CHANGE OF                STATUS
                                  AFFIDAVIT                HEARING               PLEA               to set ex-parte hrg on fin. aff.
10:30 AM                                                   _____________
BEFORE HON.                       DETENTION                ARRAIGNMENT           MOTIONS                    JUDGMENT &
                                  HEARING                                                                   SENTENCING
Spero
        TIME W AIVED              TIME EXCLUDABLE          IDENTITY /            PRETRIAL                   PROB/SUP REV.
                                  UNDER 18 § USC           REMOVAL               CONFERENCE                 HEARING
                                  3161                     HEARING
                                               ADDITIONAL PROCEEDINGS
Defendant consents to proceed by Zoom. The AUSA was excused and Court went into an ex-parte sealed session. Sealed
Zoom Meeting Time: 10:44-11:11 (26 M).

                                                                                       DOCUMENT NUMBER:
